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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                           Criminal No. 19-134 (FLW)

                                                   SCHEDULING ORDER
vs.


JAKIR TAYLOR,
   a/k/a “Jak,”
JEROME ROBERTS,
   a/k/ a “Righteous,”
DAVID ANTONIO,
   a/k/a “Papi,”
   a/k/a “Victor Arias,”
WAYNE K. BUSH,
BRIAN PHELPS,
TIMOTHY WIMBUSH,
   a/k/a “Young Money,”
TAQUAN WILLIAMS,
JUBRI WEST, and
MAJOR ANDERSON,
   a/k/a “Maj”


      This matter having come before the Court for a status conference on

June 25, 2019; and the United States of America, being represented by Craig

Carpenito, Unites States Attorney for the District of New Jersey (by J. Brendan

Day and Alexander Ramey, Assistant U.S. Attorneys, appearing), having

proposed a schedule for pre-trial motions, and defendants Jerome Roberts

(by David M. Simon, Esq.); David Antonio (by David E. Schafer, Esq.); Wayne K.

Bush (by Robert C. Wolf, Esq.); Brian Phelps (by Wanda Akin, Esq.); Timothy

Wimbush (by Megan J. Davies, Esq.); Taquan Williams (by Edward F.

Borden, Jr.); and Jubri West (by Anthony G. Simonetti, Esq.) having consented

to such a schedule; and a status conference having been held to discuss the
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status of discovery and the scheduling of pre-trial motion practice; and the

Court having accepted the proposed schedule, and for good cause shown,

      It is on thisc_ day of June, 2019, ORDERED that:

      1.    Defendants shall file any dispositive motions on or before

September 16, 2019;

      2.    The government shall file a response to such motions on or

November 1, 2019;

      3.    Defendants shall file any replies on or before November 12, 2019;

      4.    The Court shall schedule any evidentiary hearings and/or oral

argument on any motions after reviewing the motion papers; and

      5.    A status conference shall be held on Novembe2 I, 2019, at

a.m./p.m., in order to assess the status of motion practice; to consider setting a

schedule for the next status conference in this matter, or a final pretrial

conference, if appropriate.




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                                      H1norab e Fred L. Wolfson
                                      Uhited States District Judge
